                        UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

DINA CAPITANI                         )
                                      )
       Plaintiff                      )
                                      )
v.                                    )              Civil Action No. 3:19-cv-00120
                                      )
WORLD OF MINIATURE BEARS, INC., )
individually, and d/b/a MINIBEARGEMS, )
and MINI BEAR GEMS, and               )
MINIBEARSGEMS & GIFTS, INC.,          )
individually, and d/b/a MINIBEARGEMS )
and MINI BEAR GEMS                    )
                                      )
       Defendants.                    )


  DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE EVIDENCE OF JUDGMENT
              AGAINST GEOFFREY AND CATHY ROEBUCK


       COMES NOW, the Defendants, by and through counsel, and hereby move this Court to

prohibit Plaintiff from making any reference to or introducing any evidence related to the judgment

obtained by Plaintiff against Geoffrey and Cathy Roebuck. Such judgment has no relevance in

concerning whether the items obtained by Defendant were received under license from the first (and

only) production run of wagging tail dog clocks. Pursuant to Federal Rules of Evidence 401, 402,

and 403 and for the reasons further explained and set forth in the accompanying Memorandum of

Law, Defendants World of Miniature Bears, Inc. and MiniBears Gems & Gifts, Inc. requests that the

Court grant their motion to exclude testimony on the default judgment obtained against Geoffrey and

Cathy Roebuck.

                                                     Respectfully submitted,

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                                                       /s/ Desireé J.C. Goff
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                                                      Attorneys for Defendants


                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 7, 2020, I electronically filed the Motion in Limine to Exclude

Evidence of Judgment against Geoffrey and Cathy Roebuck with the Clerk of this Court using the

CM/ECF system which will automatically send email notification of such filing to the following

parties who are CM/ECF participants:

Autumn L. Gentry, Esq.
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Attorney for Plaintiff Capitani
                                                          /s/ Desireé Goff
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